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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                        November 05, 2020
                 IN THE UNITED STATES DISTRICT COURT                     David J. Bradley, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION



ORIYOMI SADIA ALOBA,                 §
(Reg. No. 75821-112),                §
                                     §
                 Plaintiff,          §
                                     §
v.                                   §          CIVIL ACTION NO. H-20-3100
                                     §
CLIENT DRAGOO, et al.,               §
                                     §
                 Defendants.         §


                     MEMORANDUM OPINION AND ORDER


      The plaintiff,      Oriyomi Sadia Aloba,      also known as Oriyomi

Saddiq Aloba (Reg. No. 75821-112), is presently serving a federal

prison sentence at the Reeves County Detention Center III in Pecos,

Texas.    He has filed a Criminal Complaint          ("Complaint") ( Docket

Entry No. 1), seeking arrest warrants and criminal charges against

individuals involved in his arrest and prosecution.              Because the

plaintiff is a prisoner, the court is required to scrutinize the

pleadings and dismiss the action,             in whole or in part,         if it

determines that the Complaint is "frivolous, malicious, or fails to

state a claim upon which relief may be granted" or "seeks monetary

relief from a defendant who is immune from such relief."           28 U.S.C.

§ 1915A (b).    After considering all of the pleadings, the court

concludes that     this    case   must   be    dismissed   for   the    reasons

explained below.
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                                     I.     Background

       The plaintiff is currently incarcerated as the result of a

conviction and sentence that he received in United States v.

Oriyomi Saddig Aloba, No. 2:18-cr-0083 (C.D. Cal.). Court records

from that case reflect that a jury found the plaintiff guilty of

several offenses outlined in a                     Second Superseding Indictment,

including: Conspiracy to Commit Wire Fraud and Attempted Wire Fraud

(Count    1),   Wire      Fraud       (Counts       2    through     17);     Unauthorized

Impairment of a Protected Computer (Count 18); Unauthorized Access

to a Protected Computer to Obtain Information (Counts 19 through

23); Aggravated Identity Theft                 (Count 24);          Aiding and Abetting

Aggravated Identity Theft (Counts 25 through 27).                           On October 21,

2019, the plaintiff received a sentence of 145 months' imprisonment

plus restitution in            the        amount    of       $47,479.26   and   a   special

assessment of $2700.00.           That case is now on appeal.

       The plaintiff notes in his pending Complaint that he was

arrested on November 15, 2017, by two armed individuals who claimed

to be "operating under the color of law" (Docket Entry No. 1, p.

1). These individuals, identified as Client Dragoo and Christopher

Odeck, allegedly held him "hostage" in a "Houston Police Marked

Car"     as   part   of    a      conspiracy            by    the   Federal     Bureau   of

Investigation, the Los Angeles Bureau of Investigation, the Los

Angeles Superior Court, the People of Los Angeles, and "others

unknown" (Id.).      The plaintiff was then taken to the Harris County


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Jail and later transported by commercial airline from Houston to

Los Angeles, where he was again held hostage in the Los Angeles

County Jail (Id.).     He accuses the defendants of kidnapping and

hostage-taking in violation of several criminal statutes, including

18 U.S.C. §§ 1201, 1201(a), 1201(b), 1203, 1203(a), 2236, and 242,

and he asks the court to issue warrants for their arrest (Id.).


                            II.   Discussion

     A district    court   may    dismiss   a   prisoner's   complaint    as

frivolous "if it lacks an arguable basis in law or fact."           Geiger

v. Jowers, 404 F.3d 371, 373 (5th Cir. 2005).         "A complaint lacks

an arguable basis in law if it is based on an indisputably

meritless legal theory,      such as if the complaint alleges the

violation of a legal interest which clearly does not exist."

Siglar v. Hightower, 112 F.3d 191, 193 (5th Cir. 1997).

     The plaintiff does not articulate a viable claim because it is

well established that there is "no private right of action to bring

criminal charges."      Back v.     Texas   Dep't of Criminal      Justice

Correctional Institutions Div., 716 F. App'x 255, 259 (5th Cir.

2017) (citing Gill v. Texas,       153 F. App'x. 261,        262 (5th Cir.

2005); Oliver v. Collins, 904 F.2d 278, 281 (5th Cir. 1990)); see

also Linda R.S. v. Richard D., 93 S. Ct. 1146, 1149 (1973) (holding

that "a private citizen lacks a judicially cognizable interest in

the prosecution or nonprosecution of another"); Sattler v. Johnson,

857 F.2d 224, 227 (4th Cir. 1988) (rejecting an equal protection

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claim under § 1983 because neither a member of the public at large

nor the victim has a right to have another criminally prosecuted).

Private citizens are thus not entitled to an order requiring the

arrest or prosecution of wrongdoers. See Del Marcelle v. Brown

County Corp., 680 F.3d 887, 901-02 (7th Cir. 2012) (Easterbrook,

C.J., concurring) (citations omitted). Accordingly, this case will

be dismissed as frivolous.


                     III.   Conclusion and Order

     Based on the foregoing, it is ORDERED that the Complaint filed

by Oriyomi Sadia Aloba, also known as Oriyomi Saddiq Aloba (Reg.

No. 75821-112) (Docket Entry No. 1) is DISMISSED with prejudice

pursuant to 28 U.S.C. § 1915A(b) as frivolous.

     The Clerk is directed to provide a copy of this Memorandum

Opinion and Order to the plaintiff.        The Clerk will also send a

copy to the Three Strikes List at Three_Strikes@txs.uscourts.gov.

     SIGNED at Houston, Texas, on this�� day of         Atw-,   2020.




                                               SIM LAKE
                                 SENIOR UNITED STATES DISTRICT JUDGE




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